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                  Case 1:20-cr-00623-JSR Bureau
                                          Document
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                                                   Prisons                                     Page 2 of 6
                                                    Health Services
                                                  Medication Summary
                                                       Historical
Complex: BRO--BROOKLYN MDC                                   Begin Date: 12/15/2021           End Date: 12/15/2022
Inmate:  DENNIS, WILLIE                                      Reg #:      91401-054            Quarter:  H05-502L

Medications listed reflect prescribed medications from the begin date to end date on this report.
Allergies:                                   Denied


Active Prescriptions
   Acetaminophen 325 MG Tab
   Take two tablets (650 MG) by mouth every six hours AS NEEDED for pain
   Rx#: 434219-BRO         Doctor: Bialor, Bruce (MAT) MD, CD
   Start: 10/18/22         Exp: 11/17/22                        Pharmacy Dispensings: 56 TAB in 30 days

   Aspirin 81 MG EC Tab
   Take one tablet (81 MG) by mouth each day
   Rx#: 434220-BRO         Doctor: Bialor, Bruce (MAT) MD, CD
   Start: 10/18/22         Exp: 11/17/22                                 Pharmacy Dispensings: 30 TAB in 30 days

   Aspirin 81 MG EC Tab
   Take one tablet (81 MG) by mouth each day
   Rx#: 435890-BRO         Doctor: Bialor, Bruce (MAT) MD, CD
   Start: 11/21/22         Exp: 02/19/23                                 Pharmacy Dispensings: 30 TAB in 24 days

   Atorvastatin 80 MG TAB
   Take one tablet (80 MG) by mouth each day -- While taking Paxlovid for COVID, do not take this medication.
   Rx#: 435891-BRO         Doctor: Bialor, Bruce (MAT) MD, CD
   Start: 11/21/22         Exp: 02/19/23                           Pharmacy Dispensings: 30 TAB in 24 days

   Clopidogrel Bisulfate 75 MG Tab
   Take one tablet (75 MG) by mouth each day
   Rx#: 434221-BRO           Doctor: Bialor, Bruce (MAT) MD, CD
   Start: 10/18/22           Exp: 11/17/22                               Pharmacy Dispensings: 30 TAB in 30 days

   Empagliflozin 25 MG Tablet
   Take one tablet (25 MG) by mouth each day **non-formulary approved until: 11/21/24
   Rx#: 435948-BRO         Doctor: Bialor, Bruce (MAT) MD, CD
   Start: 11/22/22         Exp: 02/20/23                          Pharmacy Dispensings: 30 TAB in 23 days

   Metoprolol Succ XL 24 Hour 50 MG Tab
   Take one tablet (50 MG) by mouth each day
   Rx#: 435892-BRO         Doctor: Bialor, Bruce (MAT) MD, CD
   Start: 11/21/22         Exp: 02/19/23                                 Pharmacy Dispensings: 30 TAB in 24 days


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Complex: BRO--BROOKLYN MDC                                Begin Date: 12/15/2021              End Date: 12/15/2022
Inmate:  DENNIS, WILLIE                                   Reg #:      91401-054               Quarter:  H05-502L


Active Prescriptions
   Metoprolol Tartrate 25 MG Tab
   Take one tablet (25 MG) by mouth twice daily
   Rx#: 434222-BRO         Doctor: Bialor, Bruce (MAT) MD, CD
   Start: 10/18/22         Exp: 11/17/22                              Pharmacy Dispensings: 60 TAB in 30 days

   Nirmatrelvir/Ritonavir 300/100 mg Tab pack
   Take 2 tablets of nirmatrelvir (300mg) and 1 tablet of ritonavir (100mg) by mouth twice daily for 5 days
   Rx#: 435893-BRO           Doctor: Bialor, Bruce (MAT) MD, CD
   Start: 11/21/22           Exp: 11/26/22                              Pharmacy Dispensings: 30 TAB in 5 days

   Sacubitril-Valsartan 24-26 MG Tablet
   Take one tablet by mouth twice daily
   Rx#: 435894-BRO           Doctor: Bialor, Bruce (MAT) MD, CD
   Start: 11/21/22           Exp: 02/19/23                            Pharmacy Dispensings: 60 TAB in 24 days

   Spironolactone 25 MG Tab
   Take one tablet (25 MG) by mouth each day
   Rx#: 435895-BRO         Doctor: Bialor, Bruce (MAT) MD, CD
   Start: 11/21/22         Exp: 02/19/23                              Pharmacy Dispensings: 30 TAB in 24 days




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                                                  U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007



                                                     October 6, 2022


BY EMAIL
Willie Dennis (pro se)
6858 Hidden Glade Place
Sanford, Florida 32771
woc2020@gmail.com

    Re:       United States v. Willie Dennis, 20 Cr. 623 (JSR)

Dear Mr. Dennis:

        This document is not a plea agreement. Rather, pursuant to the suggestion of the Court in
United States v. Pimentel, 932 F.2d 1029, 1034 (2d Cir. 1991), this letter sets forth the current
position of the United States Attorney’s Office for the Southern District of New York (the
“Office”) regarding the application of the United States Sentencing Guidelines (“U.S.S.G.” or
“Guidelines”) to defendant Willie Dennis (the “defendant”) in this case.

        The Indictment charges the defendant in four counts, only three of which are being pursued
by the Government.1 Counts One, Two, and Four each charge the defendant with cyberstalking,
in violation of Title 18, United States Code, Sections 2261A(2)(B) and 2. Counts One, Two, and
Four each carry a maximum term of imprisonment of five years; a maximum term of supervised
release of three years; a maximum fine, pursuant to Title 18, United States Code, Section 3571, of
$250,000; and a $100 mandatory special assessment.

        The total maximum term of imprisonment on Counts One, Two, and Four is fifteen years’
imprisonment, with a maximum term of supervised release of nine years (three years on each
count).

       The Government currently believes that the Guidelines apply to the crimes charged in
Counts One, Two, and Four of the Indictment as follows:

    A. Offense Level

          1. The applicable Guidelines manual is November 1, 2021 Guidelines manual.



1
 The Government, however, is not pursuing Count Three, and therefore, has not included that
count in its determination of the applicable Guidelines range in this case.


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       2. The Guideline applicable to each of Counts One, Two, and Four of the Indictment is
          U.S.S.G. § 2A6.2. Pursuant to U.S.S.G. § 3D1.2’s application notes, these counts are
          not grouped.

       Count One

       3. Pursuant to U.S.S.G. § 2A6.2(a), the base offense level for Count One is 18.

       4. Accordingly, the offense level for Count One is 18.

       Count Two

       5. Pursuant to U.S.S.G. § 2A6.2(a), the base offense level for Count Two is 18.

       6. Accordingly, the offense level for Count Two is 18.

       Count Four

       7. Pursuant to U.S.S.G. § 2A6.2(a), the base offense level for Count Four is 18.

       8. Accordingly, the offense level for Count Four is 18.

       Combined Offense Level

       9. Pursuant to U.S.S.G. § 3D1.4, the combined offense level for all three counts is
          determined as follows: by taking the offense level applicable to the Group with the
          highest offense level and increasing that offense level by the number of Units, as
          determined by U.S.S.G. § 3D1.4(a). Here, the highest offense level is 18, and the
          offense level for the other two counts is equally serious. Accordingly, each count
          equals one Unit, for a total of three units. Pursuant to U.S.S.G. § 3D1.4, this means
          that the highest offense level is increased by three levels, which results in a total
          combined offense level of 21.

       10. Accordingly, the total combined offense level is 21.

       11. Assuming the defendant clearly demonstrates acceptance of responsibility, to the
           satisfaction of the Government, through his allocution and subsequent conduct prior to
           the imposition of sentence, a two-level reduction will be warranted, pursuant to
           U.S.S.G. § 3E1.1(a).

       In accordance with the foregoing calculations, the applicable offense level is 19.

   B. Criminal History Category

        Based upon the information now available to this Office, the defendant has zero criminal
history points. In accordance with the foregoing, the defendant’s Criminal History Category is I.


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    C. Sentencing Range

      Based upon the calculations set forth above, the defendant’s sentencing range is 30 to 37
months’ imprisonment. In addition, after determining the defendant’s ability to pay, the Court
may impose a fine pursuant to U.S.S.G. § 5E1.2. At offense level 19, the applicable fine range is
$10,000 to $100,000.

         The foregoing Guidelines calculation is based on facts and information currently known to
the Office. Nothing in this letter limits the right of this Office (1) to change its position at any time
as to the appropriate Guidelines calculation in this case, even if that change is based, in whole or
in part, on information that was in the Government’s possession as of the date of this letter; and/or
(2) to present to the Court or the United States Probation Office, either orally or in writing, any
and all facts and arguments relevant to sentencing that are available to the Office at the time of
sentencing. Nor does anything in this letter limit the right of this Office to seek a departure under
or variance from the Guidelines, or to take a position on any departure or variance that may be
suggested by the Court, the United States Probation Office, or the defendant.

        This letter does not and cannot bind either the Court or the United States Probation Office,
either as to questions of fact or as to determinations of the correct application of the Guidelines in
this case. Instead, the sentence to be imposed upon the defendant will be determined solely by the
Court. This Office cannot and does not make any promise or representation as to what sentence
the defendant will receive.

        The defendant is hereby notified that, if he is not a citizen of the United States, his guilty
plea and conviction make it very likely that his removal from the United States is presumptively
mandatory and that, at a minimum, he is at risk of being removed or suffering other adverse
immigration consequences. The defendant is further notified that, if he is a naturalized citizen of
the United States, his guilty plea may have consequences with respect to his immigration status.
For example, under federal law, an individual may be subject to denaturalization and removal if
his naturalization was procured by concealment of a material fact or by willful misrepresentation,
or otherwise illegally procured. The defendant is further notified that denaturalization and other
immigration consequences are typically the subject of a separate proceeding, and that no one,
including the defendant’s attorney or the District Court, can predict with certainty the effect of the
defendant’s conviction on the defendant’s immigration or naturalization status. The defendant is
entitled to and should seek advice from an attorney on this issue.

                                                Very truly yours,

                                                DAMIAN WILLIAMS
                                                United States Attorney

                                            by: ____________________________
                                                Sarah L. Kushner/Stephanie Simon
                                                Assistant United States Attorneys
                                                (212) 637-2676 / (914) 993-1920


2019.10.22
